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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED ) Case Number: 1:22-cv-10904 JSR
STATES VIRGIN ISLANDS )
)
PLAINTIFF, ) AFFIDAVIT OF
) CAROL THOMAS-JACOBS
Vv. )
)
JPMORGAN CHASE BANK. N.A. )
)
DEFENDANT, )

 

1, Carol Thomas-Jacobs, declare and state the following:
l. | have never been convicted of a felony;

2. | have never been censured, suspended. disbarred or denied admission or

readmission by any court; and
2 there are no disciplinary proceedings presently against me.
[ make this Affidavit in support of my Motion for Admission Pro Hac Vice to appear as counsel

for Plaintiff, Government of the United States Virgin Islands, in the above-captioned action.

Ocsvocee re le

CAROL THOMAS TAGES
Assistant Attorney Gener

Virgin Islands Department of Justice
Office of the Attorney General

34-38 Kronprindsens Gade

St. Thomas, U.S. Virgin Islands 00802
Tel.: (340) 774-5666 ext. 10101

carol.jacobs@doj.vi.gov
SUBSCRIBED and SWORN Zgzhefore me this “BZ day of December, 2022

Dated: December 30, 2022

  
